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VIA ECF                                                                        September 27, 2020
The Honorable John G. Koeltl, U.S.D.J.
United States District Court, Southern District of New York
500 Pearl Street
New York, New York 10007
        Re:      PDV USA, Inc. v. Interamerican Consulting, Inc., No. 20-cv-3699 (JGK)
Dear Judge Koeltl:
       We represent Defendant Interamerican Consulting, Inc. (“Interamerican”). Pursuant to
Your Honor’s Individual Rule II(B), we request a pre-motion conference regarding our anticipated
motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and (6). PDV USA, Inc. (“Plaintiff”) lacks
standing and fails to state a claim for breach of contract that is plausible on its face.
        I.       PDV USA Lacks Standing to Enforce the Contract
        Plaintiff and Interamerican were parties to a consulting agreement with a 92-day term (the
“Agreement”) effective March 21, 2017. On October 5, 2017, after the Agreement term ended,
Plaintiff assigned, in writing, all its rights in the Agreement to Petróleos de Venezuela, S.A.
(“PDVSA”).1 Accordingly, Plaintiff no longer has standing to bring this case, see House of Europe
Funding I, Ltd. v. Wells Fargo Bank, N.A., 2014 WL 1383703, at *16 (S.D.N.Y. 2014), as the
assignee is the real party in interest. See Fairchild Hiller Corp. v. McDonnell Douglas Corp., 28
N.Y.2d 325, 330 (1971).
        II.      The Complaint Fails to Plead the Elements of a Contract Claim
        A claim for breach of contract requires facts sufficient to show: (1) the existence of a
contract; (2) performance by the plaintiff; (3) a breach by the defendant; and (4) damages resulting
from the breach. The Complaint fails to adequately plead all four of the elements and instead
recites bald, “conclusory statement[s] that the accused breached a contract” without setting out
specific obligations agreed to or any facts showing those obligations were not met. Schupak Grp.,
Inc. v. Travelers Cas. & Sur. Co. of Am., 716 F. Supp. 2d 262, 267 (S.D.N.Y. 2010).
                 A. The Complaint Fails to Plead the Terms of the Agreement
       Plaintiff failed to provide the Agreement, itself grounds for dismissal given the conclusory
and vague allegations. See Valentini v. Citigroup, Inc., 837 F. Supp. 2d 304, 327 (S.D.N.Y. 2011).2
       At minimum, Plaintiff must “set forth the terms of the agreement upon which liability is
predicated.” Bernstein v. Citibank, N.A., 2008 WL 11516014, at *3 (S.D.N.Y. 2008). Here, the
Complaint is devoid of any obligatory terms defining what “services” Interamerican agreed to
provide. It refers generally to “strategic consulting services.” Compl. ¶¶ 15, 17, 20. But it does not
state what those services entailed. It also refers to the provision of “support . . . in the planning and
execution of a strategic plan.” Id. ¶ 24. However, it provides no information about the nature of
such “support” or any “strategic plan.” The Complaint alleges that Interamerican failed to provide

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  “As of the Assignment Effective Date, [PDV USA] hereby assigns, sells, transfers and delivers to [PDVSA] all of
the rights . . . under the Agreement.” Interamerican intends to attach the Assignment to its Motion to Dismiss.
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  Interamerican intends to attach the Agreement to its Motion to Dismiss so that its actual terms can be reviewed in
light of the inaccurate allegations set forth in the Complaint.


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“meaningful work,” id. ¶ 23, but does not define “work” or “meaningful” under the Agreement.
See id. ¶¶ 5, 31. The Complaint further refers to “identify[ing] opportunities to build long-term
relationships among key third-parties, opinion leaders and public officials,” id. ¶ 18, without
specifying any “opportunities” or identifying any “key third-parties, opinion leaders and public
officials.”
         More egregious, however, is that the Complaint is replete with misstatements of the terms
of the actual Agreement. It states—with no basis in the Agreement—that Plaintiff contracted for
Interamerican to provide services not for the benefit of the signatory, Plaintiff, but for an entirely
different entity: PDVSA. See Compl. ¶¶ 1, 3, 6, 13-19, 23, 29, 38. It falsely alleges that the
purported “services” were “for the purpose of ‘improving PDVSA’s long-term reputation and
standing’ in the United States” and that “Interamerican was supposed to develop and
implement . . . a strategic plan [for] PDVSA.” Id. ¶¶ 1, 3. Yet, the plain language of the Agreement
denotes as parties solely Plaintiff and Interamerican. The Agreement makes no mention of PDVSA
at all. PDVSA is not a beneficiary of any services to be provided by Interamerican.3 The attempt
to refer to material extraneous to the Agreement (i.e., “reports”) to allege duties owed by
Interamerican to PDVSA, see Compl. ¶ 17, fails, given the integration clause in the Agreement.
See Spinelli v. Nat’l Football League, 96 F. Supp. 3d 81, 132 (S.D.N.Y. 2015). Accordingly,
allegations of any relationship between Interamerican and PDVSA are unsupported and false.4
                 B. The Complaint Fails to Plead Plaintiff Performed Under the Agreement
         “[F]ailure to plead the performance of its own contractual obligations is fatal to a breach
of contract claim even if the other requisite elements are properly pleaded.” Transcience Corp. v.
Big Time Toys, LLC, 50 F. Supp. 3d 441, 451 (S.D.N.Y. 2014). A plaintiff must “allege . . .
performanc[e] in full compliance with the contract terms.” Gregori v. 90 William St. Dev. Grp.
LLC, 2010 WL 3001979, at *4 (S.D.N.Y. 2010) (emphasis added). Plaintiff agreed to pay
Interamerican $50,000,000: an initial deposit, installments, and a final payment. See Compl. ¶¶ 1,
33, 35. The payments were due during the term of the Agreement. See id. Plaintiff fails to plead
that it made the required payments—it pleads just the opposite: that it failed to pay monies owed.
See id. ¶ 37 (“$35 million that was not paid.” (emphasis added)). That is grounds for dismissal.
See Jasper & Black, LLC v. Carolina Pad Co., LLC, 2012 WL 413869, at *9 (S.D.N.Y. 2012).
                 C. The Complaint Fails to Plead any Breach
        Breach of contract requires more than generic allegations of a failure to perform, e.g.,
failure “to timely deliver the requisite [g]oods in accordance with the agreed upon quality,”
Seduka, LLC v. Street Moda, LLC, 2015 WL 1089575, at *4 (S.D.N.Y. 2015), failure to “share
promptly relevant information,” Soroof Trading Dev. Co. v. GE Fuel Cell Sys., LLC, 842 F. Supp.
502, 512-13 (S.D.N.Y. 2012), or failure “to properly account” to a plaintiff. Arma v. Buyseasons,
591 F. Supp. 2d 637, 643 (S.D.N.Y. 2008). Yet these are the types of allegations in the Complaint.
        Specifically, the Complaint sets forth no facts that Interamerican failed to provide
“strategic consulting” or “assistance developing strategies to inform policy makers and opinion
leaders regarding CLIENT initiatives and achievements,” an actual term in the Agreement. It fails

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  The Complaint alleges, “Interamerican was required under the Agreement to provide detailed accounts of the work
it would do to further PDVSA’s interests in the United States.” Id. ¶ 19. The Agreement contains no such language.
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  PDVSA is a designated entity on the U.S. government’s list of state-owned entities subject to sanctions. See Compl.
¶ 2. False allegations linking Interamerican with PDVSA are incendiary, and subject to striking under Fed. R. Civ. P.
Rule 12(f). See Corr. Officers Benevolent Ass’n of Rockland Cty. v. Kralik, 226 F.R.D. 175, 177 (S.D.N.Y. 2005).
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to plead any facts that Interamerican failed to assist in “planning and execution of a strategic plan
directed at targeted stakeholders”—another actual contract term. Nor does the Complaint allege
what strategies “client” would be developing for which Interamerican failed to assist. Further, the
Complaint fails to allege Plaintiff’s (i.e., the client’s) own “planning and execution of a strategic
plan directed at targeted stakeholders” for which Interamerican failed to assist.
        Instead, Plaintiff alleges that Interamerican in fact provided both services and reports
related to those services. See Compl. ¶ 4 (“[Interamerican] provided . . . reports”), ¶ 17 (“progress
reports provided by Interamerican”), ¶ 23 (“Rivera submitted . . . reports”). The Complaint makes
conclusory statements that the reports included “generic” terminology, did not describe the
components of a “plan,” and were not “meaningful.” Id. ¶¶ 23-25. However, there is no
requirement in the Agreement that the reports use particular terminology, include a specific level
of detail, describe “meaningful work,” or even be written. Such allegations do not plausibly
constitute any breach.
        Further, the Agreement was for services to the “sole satisfaction” of Plaintiff. Id. ¶ 29.
“Even when a contract confers decision-making power on a single party, the resulting discretion
is nevertheless subject to an obligation that it be exercised in good faith,” Travellers Int’l, A.G. v.
Trans World Airlines, Inc., 41 F.3d 1570, 1575 (2d Cir. 1994), and be “reasonable.” Schneider v.
Vietor, 208 A.D. 624, 627 (1st Dep’t 1924). Plaintiff pleads that it “never expressed satisfaction
with, and,” over three years later, “is not satisfied with, Interamerican’s services,” Compl. ¶ 30,
not that it withheld satisfaction. Plaintiff’s naked assertion is conclusory, unreasonable, and in bad
faith.
                  D. The Complaint Fails to Plead Damages
         Damages in a breach of contract action must be “attributable to the breach.” Excellent
Home Care Services, LLC v. FGA, Inc., 2014 WL 4258992, at *2 (E.D.N.Y. 2014). “[A] plaintiff
must prove that a defendant’s breach [of contract] directly and proximately caused his or her
damages . . . [which] must be such only as actually follow or may follow from the breach of the
contract.” Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank, 392 F.3d 520, 525 (2d Cir. 2004)
(alterations omitted) (emphasis in original). The Complaint is devoid of any facts setting forth the
nature of the harm or how it was allegedly caused by Interamerican. See Compl. ¶ 44.
         III.     Plaintiff Waived any Contract Claim
         “[W]hen one party performs under a contract and the other party accepts that performance
without objection, there is an assumption that the performance was as contemplated by the
agreement.” Nomura Sec. Int’l, Inc. v. E*Trade Sec., Inc., 280 F. Supp. 2d 184, 208 (S.D.N.Y.
2003). Plaintiff concedes that it received “services,” see Compl. ¶ 30, and nowhere alleges that it
was dissatisfied with Interamerican’s performance. It thus waived any claim that Interamerican
breached the Agreement by failing to perform. “[U]nder New York law . . . [a] non-breaching
party may choose to continue to perform the contract . . . [and if it does], it may not later renounce
its election to continue and seek to terminate based on the prior breach.” Lazard Frères & Co. v.
Crown Sterling Mgmt., Inc., 901 F. Supp. 133, 136 (S.D.N.Y. 1995) (alterations omitted).5

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  Plaintiff also pleads “indemnity.” See Compl. ¶¶ 46-49. Plaintiff cites paragraph 10 of the (unattached) Agreement
as the basis. See id. ¶ 40. However, the Agreement’s alleged “indemnity” clause does not hold Plaintiff harmless
against third-party claims. Instead, the language cited in the Complaint is a simple fee-shifting provision. A claim for
attorneys’ fees is not a separate cause of action in New York. See, e.g., Burke v. Crosson, 85 N.Y.2d 10, 17-18 (1995).
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       Accordingly, a Motion to Dismiss is warranted, and should be granted.


Respectfully,

 /s/ Kathryn Lee Boyd
Kathryn Lee Boyd
